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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 TWYMAN,                                            )
                                                    )
                 Plaintiff,                         )
                                                    )
                 v.                                 ) Case No. 16 C 4182
                                                    )
 S & M AUTO BROKERS, INC.,                          ) Judge Joan H. Lefkow
                                                    )
                 Defendant.                         )

                                               ORDER

       The motion by Joel Brodsky for writ of error coram nobis (dkt. 261) is denied. See
Statement.
                                      STATEMENT

        Joel Brodsky, who represented S & M Auto Brokers in this litigation, was ordered to pay
a fine of $50,000 as a sanction for misconduct before the court. (Dkt. 224.) The sanction was
affirmed on appeal. (Dkt. 252.) Brodsky returned to this court seeking to vacate the sanctions
order because his counsel was ineffective, which the court denied for lack of jurisdiction. (Dkt.
255.) He now brings a writ of error coram nobis to require this court to review its judgment
because he was not provided constitutional protections afforded to individuals subject to
sanctions that are criminal in nature, including procedural due process and effective assistance of
counsel. 1

        The nature and scope of the writ of error coram nobis is succinctly explained in United
States v. Bush, 888 F.2d 1145 (7th Cir. 1989). Federal courts may entertain a request for the writ
under the All Writs Act. Id. at 1146 (citing United States v. Morgan, 346 U.S. 502 (1954)). In
short, a writ of error coram nobis permits a court to review of its own judgment under narrow
circumstances. “Contemporary coram nobis matters only after custody expires, making it
appropriate to limit the writ to errors ‘of the most fundamental character.’” Id. at 1147. It applies
only in criminal cases (Federal Rule of Civil Procedure 60(e) abolishes the writ for civil cases)
and “should issue only when the petitioner suffers an ongoing legal disability, presents questions
that could not have been resolved at the time of the conviction, and, if pressing a strictly legal
question about the adequacy of the charges, establishes that the indictment does not state an
offense. Id. at 1146; see also United States v. Sloan, 505 F.3d 685, 697 (7th Cir. 2007) (“To the
extent that the writ of coram nobis retains vitality in criminal proceedings, such relief is limited
to (1) errors “of the most fundamental character” that render the proceeding invalid,


        1
         The case was reassigned to the undersigned judge after the recusal of the judge who imposed the
sanctions. (See dkt. 259.)
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(2) situations where there are sound reasons for the failure to seek earlier relief, and (3) instances
when the defendant continues to suffer from his conviction even though he is out of custody.”)

         Unfortunately for Mr. Brodsky, his argument must fail. He has already fully litigated his
procedural due process claims, which the Seventh Circuit rejected. Twyman v. S&M Auto
Brokers, No. 18-1811 (7th Cir. Jan. 18, 2019) (slip op. at 1–2 n.1). And even if he were denied
effective assistance of counsel at his sanctions hearing, 2 and that were a fundamental error, see
United States v. Delhorno, 915 F.3d 449, 453–54 (7th Cir. 2019) (implying that ineffective
assistance could qualify as a fundamental error under coram nobis doctrine), and there were
sound reasons for not seeking earlier relief, 3 Brodsky could not prove an ongoing disability. As
explained in Bush, “A fine at the time of conviction is not a ‘civil disability,’ and the reputational
injury from conviction also does not suffice—civil judgments, too, cause loss of money and
reputation, and to treat effects common to all litigation as civil disabilities would be to eliminate
the custody requirement without leaving anything in its stead.” 888 F.2d at 1148; Sloan, 505
F.3d at 697–98 (7th Cir. 2007) (holding defendant cannot use coram nobis to challenge
restitution award). Because Brodsky is in no worse position than any civil litigant facing a
money judgment, he cannot use the extraordinary remedy of coram nobis to disturb his final
judgment. United States v. Keane, 852 F.2d 199, 204 (7th Cir. 1988).




Date: March 29, 2019
                                                          _______________________________

                                                          U.S. District Judge Joan H. Lefkow




        2
          A dubious proposition, given his three lawyers at the sanctions hearing, one of whom is known
to this court as a seasoned criminal defense attorney.
        3
          Also dubious, as he raised ineffective assistance of counsel in his petition for rehearing in the
Seventh Circuit, which was denied. See Pet. for Reh’g, Doc. 38 at 7–11, Twyman v. S&M Auto Brokers,
Inc., No. 18-1811 (7th Cir.).
